                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


THE ESTATE OF TONYA K. MEALMAN
BY SPECIAL ADMINISTRATOR
ARIC D. BURCH,

             Plaintiff,
                                                      Case No. 21-CV-820
      v.

WISCONSIN MUNICIPAL MUTUAL
INSURANCE COMPANY, et al.,

            Defendants.
______________________________________________________________________________

     PLAINTIFF’S NINTH MOTION TO COMPEL WELLPATH DEFENDANTS
                   TO PRODUCE LIST OF INMATE SUICIDES
                 THAT OCCURRED IN WELLPATH FACILITIES
______________________________________________________________________________

      Plaintiff moves this Court for an order compelling Wellpath to produce

documents responsive to Plaintiff’s Ninth Set of Requests for Production of Documents

Nos. 3 and 4 within ten days, specifically a more narrow request of a list of all inmate

suicides that occurred in facilities in the United States (including incidents like Tonya

Mealman, in which individuals did not die until after they were removed from the

facility) for which Wellpath had contracted to provide healthcare from 1/1/15 to

12/31/17, an award attorneys’ fees and costs, and further sanction Wellpath for its

continued dilatory and vexatious conduct. FED. R. CIV. PRO. 37(a).

      Plaintiff submits a contemporaneously filed brief and declaration of John H.

Bradley in support of this motion.




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                                                Respectfully submitted,

      Dated: 13 March 2024

                                                /s/ John H. Bradley
                                                John H. Bradley
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                                                Attorneys for Plaintiff


      I CERTIFY I have in good faith conferred and attempted to confer with opposing
counsel pursuant to Civil L. R. 37 in an effort to obtain the Wellpath Defendants
responses to Plaintiff’s above discovery requests without court action, but the parties are
unable to reach an accord.

                                                /s/ John H. Bradley




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